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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11
                                                                     Case No.: 23-12825 (MBK)
     LTL MANAGEMENT LLC,1
                                                                     Judge: Michael B. Kaplan
                                 Debtor.


                      DEBTOR’S RESPONSE TO PAUL CROUCH OBJECTION
                    TO PROFFERED TESTIMONY OF CHARLES MULLIN, PH.D.

                      LTL Management LLC, the debtor in the above-captioned case (“LTL” or

 the “Debtor”), files this response (the “Response”) to the Objection to Proffered Expert

 Testimony of Charles Mullin, Ph.D. [Dkt. 890] (the “Objection”) filed by Paul Crouch (“Crouch”

 or “Objector”). In support of this Response, the Debtor respectfully states as follows:



 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.


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                                    PRELIMINARY STATEMENT

                  Crouch’s Objection seeks to preclude the testimony of LTL’s expert economist,

 Dr. Mullin, who has provided reports and will testify on LTL’s talc litigation costs. The

 Objection challenges whether Dr. Mullin’s expert opinions satisfy the Daubert standard,

 although it does not contest Dr. Mullin’s expert qualifications. Last week, Crouch filed a motion

 to preclude much of the same expert testimony, making many of the same arguments.2 In his

 newly-filed Objection, Crouch adopts and incorporates by reference the arguments in his

 previous motion. The Debtor filed its objection to Crouch’s motion on Monday, June 26, and the

 Debtor likewise adopts and incorporates by reference all of its objection.3

                  As a threshold matter, the Debtor respectfully submits that the Court should

 follow its usual practice of assessing the admissibility of expert opinions in the full context of the

 expert’s testimony on direct and cross-examination.

                  Further, Crouch’s Objection should be overruled for the same reasons that

 Crouch’s motion should be denied. Dr. Mullin’s expert opinions as an economist are highly

 relevant to the contested issues of the Debtor’s good faith, its financial distress on the date of its

 bankruptcy filing, and its valid reorganizational purpose, among others. They fit the facts of the

 case. And they would be helpful to the Court’s understanding of the questions in dispute.

 Accordingly, they are admissible under Federal Rule of Evidence 702 and Daubert.

                  The Objection offers a hodgepodge of old and new arguments, but all should be

 rejected for the same reasons: Crouch’s criticisms of Dr. Mullin’s factual premises, assumptions,


 2
         See Mot. to Preclude Debtor’s Proffered Expert Testimony of Charles H. Mullin and Gregory K. Bell
         [Dkt. 875; Adv. Proc. No. 23-1092, Adv. Dkt. 191]. Maune Raichle Hartley French & Mudd LLC later
         joined Crouch’s motion. See MRHFM’s Pls.’ Joinder to Paul Crouch’s Mot. to Preclude Testimony of
         Charles H. Mullin and Gregory K. Bell and Obj. to Proffered Expert Testimony of Dr. Mullin [Dkt. 903].
 3
         See Debtor’s Obj. to Paul Crouch’s Mot. to Preclude Debtor’s Proffered Expert Testimony of Charles H.
         Mullin and Gregory K. Bell [Dkt. 916; Adv. Proc. No. 23-1092, Adv. Dkt 195] (the “Debtor’s Objection”).

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 and conclusions are matters for cross-examination. None presents any fundamental analytical

 disconnect that would make the testimony excludable. Expert opinion is admissible under Rule

 702 if it is based on “good grounds.” See In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 744 (3d

 Cir. 1994). “Vigorous cross-examination, presentation of contrary evidence, and careful

 instruction on the burden of proof are the traditional and appropriate means of attacking”

 admissible evidence. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596, (1993).

                  For these reasons, and the others set forth below, the Objection should be

 overruled.

                                               REPLY

 I.      THE COURT SHOULD CONSIDER THE ADMISSIBILITY OF EXPERT
         TESTIMONY IN THE CONTEXT OF THE EXPERT’S DIRECT AND
         CROSS-EXAMINATION AT THE HEARING.

                  1.     As LTL has explained more fully in Debtor’s Objection at 4-5, when the

 Court acts as the factfinder in a bench proceeding, challenges to expert testimony are best

 resolved by evaluation of the “direct (and cross) examination of the expert witness.” See In re

 Tropicana Entm’t., LLC, 613 B.R. 587, 594 (Bankr. D. Del. 2020); Feb. 10, 2022 Hr’g Tr., In re

 LTL Mgmt LLC, No. 21-30589 (MBK) (Bankr. D.N.J.), Dkt. 1464, 3-4. Such an approach

 conserves judicial resources; here, it also preserves the limited hearing time for witnesses.

                  2.     The Third Circuit also recognizes that, in a bench trial, courts may

 “conditionally admit the expert testimony subject to a later Rule 702 determination.” UGI

 Sunbury LLC v. A Permanent Easement for 1.7575 Acres, 949 F.3d 825, 833 (3d Cir. 2020); see

 also In re Unisys Sav. Plan Litig., 173 F.3d 145, 155-58 (3d Cir. 1999) (Court “should not be

 required to waste judicial time.”).




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                  3.      Consequently, the Court should follow its usual practice and consider any

 expert challenges at the hearing on the motions to dismiss, in the full context of the expert’s

 testimony on direct and cross-examination.

 II.     THE CHALLENGED TESTIMONY OF LTL’S EXPERT IS IN ANY EVENT
         PROPERLY ADMISSIBLE.

         A.       Under Rule 702 and Daubert, Expert Testimony Does Not Become
                  Excludable as “Ipse Dixit” Merely Because an Objector Criticizes the
                  Expert’s Conclusions or the Underlying Facts or Assumptions.

                  4.      To admit expert testimony, “a trial judge has three duties: (1) confirm the

 witness is a qualified expert; (2) check the proposed testimony is reliable and relates to matters

 requiring scientific, technical, or specialized knowledge; and (3) ensure the expert’s testimony is

 ‘sufficiently tied to the facts of the case,’ so that it ‘fits’ the dispute and will assist the trier of

 fact.” UGI, 949 F.3d at 832 (quoting Daubert). See also Fed. R. Evid. 702.

                  5.      Under Federal Rule of Evidence 703, an “expert may base an opinion on

 facts or data in the case that the expert has been made aware of or personally observed”; the

 underlying facts or data need not themselves be admissible “if experts in the particular field

 would reasonably rely on those kinds of facts or data in forming an opinion on the subject.” Fed.

 R. Evid. 703.

                  6.      The arguments in the Objection suffer from a fundamental flaw: They fail

 to distinguish between the usual situation, in which the facts, assumptions, and the conclusions

 that an expert witness has drawn from them are matters for cross-examination, and the relatively

 rare one where the facts and assumptions underlying expert testimony are so disconnected from

 the expert’s conclusion as to be excludable. Gen. Elec. Co. v. Joiner, cited by the Objector, held

 that evidence “connected to existing data only by the ipse dixit of the expert” — his say-so alone

 — results in “too great an analytical gap between the data and the opinion proffered.” Gen. Elec.


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 Co. v. Joiner, 522 U.S. 136, 144 (1997) (emphasis added). But Joiner reaffirmed that “[t]rained

 experts commonly extrapolate from existing data,” id. (emphasis added), and the Supreme Court

 had no quarrel with that common practice. Daubert itself recognized that cross-examination is

 the usual way to test expert evidence in the adversary system. “Vigorous cross-examination,

 presentation of contrary evidence, and careful instruction on the burden of proof are the

 traditional and appropriate means of attacking” evidence. Daubert, 509 U.S. at 596.

                  7.     The Third Circuit likewise has held that the “grounds for the expert’s

 opinion merely have to be good, they do not have to be perfect.” In re Paoli R.R. Yard PCB

 Litig., 35 F.3d at 744–45 (“[A] judge should find an expert opinion reliable under Rule 702 if it

 is based on ‘good grounds,’ i.e., if it is based on the methods and procedures of science.”). See

 also, e.g., Stecyk v. Bell Helicopter Textron, Inc., 295 F.3d 408, 414 (3d Cir. 2002) (“A party

 confronted with an adverse expert witness who has sufficient, though perhaps not overwhelming,

 facts and assumptions as the basis for his opinion can highlight those weaknesses through

 effective cross-examination.”); Walker v. Gordon, 46 Fed. Appx. 691, 695–96 (3d Cir. 2002)

 (“An expert is . . . permitted to base his opinion on a particular version of disputed facts and the

 weight to be accorded to that opinion is for the jury. It is also . . . a proper subject for

 cross-examination.”).

                  8.     Thus, disagreement about underlying assumptions that an expert makes is

 no reason to preclude expert testimony. See, e.g., Wesco Ins. Co. v. Ridge Tool Co., 2022 WL

 17253780, at *6 (D.N.J. July 29, 2022) (“[A]n expert may base his opinion on a particular

 version of disputed facts and the weight to be accorded to that opinion is for the jury.”) (internal

 citations omitted); Kemly v. Werner Co., 151 F. Supp. 3d 496, 503-4 (D.N.J. 2015) (expert

 opinion admissible as “the burden of exploring the facts and assumptions underlying the



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 testimony of an expert witness” is placed “on opposing counsel during cross-examination”); Ford

 v. Cnty. of Hudson, 2014 WL 2039987, at *5 (D.N.J. May 16, 2014) (“Without question, much

 of the material [the expert] reviewed contains disputed facts, but that is material for cross-

 examination, not exclusion of his testimony.”); Heller v. Aftab, 2008 WL 1138937, at *1 (D.N.J.

 Oct. 15, 2008) (ruling that the expert testimony should not be precluded, and the expert’s

 “conclusion may be attacked on cross-examination for reasons related to the arguments . . .

 regarding his assumptions and methods”).

                  9.      Here, Dr. Mullin’s expert opinions4 meet the Daubert standard because

 those opinions are reliable, based on sufficient foundation, and relevant to help the Court

 understand the evidence of LTL’s good faith bankruptcy filing, including, among other things,

 the facts of LTL’s financial distress and of its valid reorganizational purpose in bankruptcy.

 Objector’s challenges — that one factor or another could have been assessed in another way, or

 in different detail — are matters for cross-examination, not exclusion.

         B.       Objector’s Unfounded Attacks on Dr. Mullin’s Use of Facts, Assumptions,
                  and Economic Scenarios Are Matters for Cross-Examination, Not Exclusion.

                  10.     As Debtor’s Objection explained at 7-9, LTL’s costs of defending talc

 claims in tort litigation outside of bankruptcy, on which Dr. Mullin opines, are highly relevant to

 LTL’s financial distress. Both the Third Circuit and this Court have noted the relevance of this

 factor. See In re LTL Mgmt., 64 F.4th 84, 100 (3d Cir. 2023) (Financial distress “depends on the

 underlying basic facts, such as the debtor’s ability to pay its current debts, and inferred facts,

 such as projections of how much pending and future liabilities (like litigation) could cost in the

 future.”); In re LTL Mgmt., LLC, 2023 WL 3136666, at *8 (Bankr. D.N.J. Apr. 27, 2023)


 4
         See (1) Expert Report of Charles H. Mullin, Ph.D., dated June 7, 2023, marked as Ex. 64 for the hearing,
         and (2) Rebuttal Expert Report of Charles H. Mullin, Ph.D., dated June 14, 2023, marked as Ex. 65 for the
         hearing.

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 (considering how the “increased volume of claims” and “increased floor of debt” impact the

 financial distress of the Debtor).

                  11.    Seeking to exclude this highly relevant testimony from Dr. Mullin (whose

 expert qualifications as an economist Objector does not challenge), Objector mounts a series of

 unfounded attacks — all of them at best matters for cross-examination, not exclusion.

                  12.    Objector begins by contesting Dr. Mullin’s use of alternate scenarios and

 economic models to evaluate LTL’s costs of a return to litigation in the tort system. For

 example, Dr. Mullin uses a scenario based on LTL’s original historical practice of litigation

 without settlements, as well as a scenario based on LTL’s later practice of litigation combined

 with some settlements. Dr. Mullin also takes into account such relevant factors as the historical

 experience of other companies defending mass tort claims. Dr. Mullin can testify in much

 greater detail about how he conducted his comprehensive scenario analysis and valuation, which

 are also described in detail in his reports.

                  13.    This is an entirely appropriate approach for an economist to take. Indeed,

 Dr. Mullin’s use of future valuation scenarios informed by LTL’s own prior tort history (and to

 some degree by comparability analysis from other torts) is the approach most commonly

 employed by mass tort estimation practitioners. The model Dr. Mullin used to calculate his

 valuation range — grounded in history, not speculation — is part of the widely-accepted practice

 of forecasting future uncertain outcomes based on historical precedents.

                  14.    Objector argues that Dr. Mullin’s use of this range of scenarios was

 somehow without foundation in the facts or speculative, suggesting that Dr. Mullin should

 instead have asked LTL what it would have done as a going-forward litigation strategy, and then

 calculated costs of litigation based only on the answer he received to that question.



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                  15.   But Objector’s suggestion would not have been a superior approach and

 was certainly not the only acceptable one. As LTL’s own litigation history over time

 demonstrates, companies can and do change their litigation strategies based on changed

 circumstances, trends, and outcomes. There is no foundation problem here. Objector may

 cross-examine Dr. Mullin about the details of his methods and assumptions.

                  16.   Objector next criticizes what Objector perceives as inconsistencies

 between Dr. Mullin’s report in this case and the report Dr. Mullin prepared for the Imerys

 bankruptcy, where Dr. Mullin considered, among other things, Imerys’s own claims history,

 unique defenses available to Imerys, and other facts of that case. Objector in particular criticizes

 Dr. Mullin for using, as a calculated input to his forecasting scenarios here, payment rates from

 the Lanier Master Settlement Agreement, an actual historical settlement of LTL’s — as

 contrasted with his critique of another expert’s employment of an assumption made in the face of

 different available information and historical experience for Imerys. Objector is free to cross-

 examine Dr. Mullin on the two reports and ask him what accounts for any differences. To be

 admissible under Daubert, there need only be “good grounds” for an expert opinion; that

 standard is met here. Daubert, 509 U.S. at 590.

                  17.   Objector also criticizes Dr. Mullin for how he considered certain

 developments in talc litigation that were adverse to talc claimants, including appellate decisions

 in New York, New Jersey, and other states, as well as litigation involving Dr. Moline. Objector

 views these developments as so unfortunate for talc claimants like himself, that Dr. Mullin

 should have discounted his evaluation based on them. Dr. Mullin acknowledged these

 developments at his deposition and can explain in his testimony why he treated them as he did.

 This, too, is a matter for cross-examination.



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         C.       Dr. Mullin’s Opinions Comparing the Economic Efficiency of Bankruptcy in
                  Resolving Tort Claims with the Inefficiency and Uncertainties of Litigating
                  Such Claims Are Relevant and Helpful, Not Speculative, and Reliably
                  Grounded In the Facts of this Case.

                  18.   Testimony comparing the costs and inefficiency of tort litigation with the

 efficiencies of resolution of talc claims in bankruptcy goes to the question of LTL’s good faith

 and whether LTL’s chapter 11 case is in the best interests of claimants and the estate.

                  19.   Concerning Dr. Mullin’s comparative opinions, the Objection reiterates

 many of the arguments Crouch made in his motion to preclude. For a full response, the Debtor

 respectfully refers the Court to Debtor’s Objection at 7-9. The Debtor presents an abbreviated

 version of its argument below and also responds to the additional points in Crouch’s Objection.

                  20.   Objector challenges Dr. Mullin’s opinions that explain how bankruptcy

 can facilitate an efficient and equitable resolution of talc claims, offering economic advantages

 over litigating such claims outside of bankruptcy. That expert opinion is highly relevant to the

 Debtor’s good faith and whether dismissal is in the best interests of claimants and the estate, and

 therefore is admissible.

                  21.   To begin with, LTL’s costs of defending talc claims in tort litigation

 outside of bankruptcy, on which Dr. Mullin opines, are highly relevant to LTL’s financial

 distress. Both the Third Circuit and this Court have noted the relevance of this factor. See In re

 LTL Mgmt., 64 F.4th at 100 (“Whether financial distress exists depends on the underlying basic

 facts, such as the debtor’s ability to pay its current debts, and inferred facts, such as projections

 of how much pending and future liabilities (like litigation) could cost in the future.”); In re LTL

 Mgmt., 2023 WL 3136666, at *8 (considering how the “increased volume of claims” and

 “increased floor of debt” impact the financial distress of the Debtor).




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                  22.   Dr. Mullin’s comparative opinions, like his other expert opinions

 evaluating the cost to LTL of continued litigation in the tort system, will help the Court

 understand the costs, inefficiencies, and uncertainties of tort litigation of talc claims — including

 in multidistrict litigation — by contrasting them with the economic value, efficiencies, and

 finality of a bankruptcy resolution.

                  23.   Not only do Dr. Mullin’s comparative opinions bear directly on the

 question of financial distress, but they also go to other disputed questions, such as LTL’s valid

 reorganizational purpose; whether LTL can confirm a plan; whether LTL commenced this

 bankruptcy as an abusive litigation tactic; and whether any acts or omissions by LTL were

 reasonably justified, considering that a resolution in bankruptcy is optimal.

                  24.   If there were any doubt, relevancy is confirmed by the fact that the parties

 who filed motions to dismiss the above-captioned case and related joinders offered their own

 expert opinions on multidistrict litigation as a vehicle for litigation of talc claims. Dr. Mullin’s

 comparative opinions sharpen the focus on the Debtor’s litigation costs and are relevant.

                  25.   Objector newly asserts that Dr. Mullin’s comparative opinion is

 speculative or not tied to the facts of the case. Objector here relies on what Objector

 characterizes as an “admission” at Dr. Mullin’s deposition that “he had not performed any

 analysis of the actual proposed plan in this case.” But that is an incomplete and inaccurate

 characterization of Dr. Mullin’s deposition testimony at the cited pages. Dr. Mullin testified that

 he had reviewed the LTL plan, after its filing, to confirm that the trust that had actually been

 proposed was consistent with the expectations he would have for such a bankruptcy trust, and

 therefore that his opinions were in alignment with what was actually happening. See June

 23, 2023 Mullin Dep. at 217.1-219.6.



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                  26.    The Objection also takes Dr. Mullin to task for not analyzing the proposed

 plan here in the exact way that he did for the plan in Imerys, at a different stage of that case, on

 its own facts, and for a different purpose. As Dr. Mullin explained at his deposition, in Imerys

 he reviewed the proposed plan “leading up towards the confirmation hearing.” See June 23,

 2023 Mullin Dep. 217.8-13. Again, Objector can cross-examine Dr. Mullin to explore the

 similarities or differences between this case and the Imerys bankruptcy, and between Dr.

 Mullin’s expert opinions in the two cases.

                  27.    That is not a reason to exclude Dr. Mullin’s opinions, which provide a

 comprehensive and helpful analysis of the costs of litigating talc claims in the tort system,

 including Dr. Mullin’s comparison between tort litigation and resolution of mass tort claims in

 bankruptcy, a subject which, the reports show, Dr. Mullin has extensively studied.

                                           CONCLUSION

                  For all of the reasons set forth above and in the Debtor’s Objection, the Debtor

 respectfully requests that the Court overrule the Objection.




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  Dated: June 28, 2023                       WOLLMUTH MAHER & DEUTSCH LLP

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